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%A0 245B      (Rev. 06/05) Judgment in a Criminal Case
              Sheet I




                          SOUTHERN                                          District o f                                                         ILLINOIS

         UNITED STATES OF AMERICA                                                  JUDGMENT IN A CRIMINAL CASE
                                 v.
                 VALERIE M. SIVERLY
                                                                                   Case Number:                4:06CR40003-004-JPG

                                                                                   USM Number: 06804-015
                                                                                    .lames
                                                                                    James MM Stern
                                                                                             Stern
                                                                                   Defendant's Attorney
THE DEFENDANT:
dpleaded gu~ltyto count@)                   1 of the Indictment                                                                                      1,-


  pleaded nolo contendere to count(s)
  which was accepted by the court
[7 was found guilty
               gullty on count(s)                                                                                                                                            YoRr
   after a plea of not guilty.
                       gullty                                                                                                                                          'U'vOlS
The defendant is adjudicated guilty of these offenses:

                                                                                                                                                                                   Counr
Title & Section                       Yature of Offense
                                                                                              lw;&=dg!aw
                                                                                                    5
                                                                                                                          .,,,

                                                                                                                                 "... .
                                                                                                                                          Offense, ,Ended
                                                                                                                                                    ,,

                                                                                                                                                           , ,

                                       to Distribute 50 Grams or More of Methamphetamine
                                                                                 ~. l \ ~ *~ >:'''4'!"* ,i,
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                                                                                                                                                           I.,
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                                                                                                                                                                                    . ...
       The defendant is sentenced as provided in pages 2 through                       10             of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                         is         are dismissed on the motion of the United States.

           It is ordered that the defendant must notify the United Swtes attorney for thts district \\.tthin 30 & a of any change of name, res~dence,
or niai!ing address untilall fmes, rcstitution.costs, and special assessments imposed by thisjudgmept arc fu& paid. If ordered to pay rcstttunon,
thr dcrcndant must nottfy the court and I:n~tcd States attorney of matenal changes in economtc circumstances.
                                                                                    1111612006
                                                                                   Date of 1mpositio;of Judgment




                                                                                    J. Phil Gilbert                                                              District Judge
                                                                                   Name of Judge                                                            Title of Judge


                                                                                              '       k        2             d Z                                  I            ,            ~
                                                                                   Date
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              (Rev. 06/08). ludmenc in Criminal Case
              Sheet 2 -Imprisonment
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 DEFENDANT: VALERIE M. SIVERLY
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                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of hisons to be impr~sonedfor a
 total term of:

  63 months on Count 1 of the Indictment. The Court STAYS EXECUTION of the sentence for 30 days.




      0 The court makes the following recommendations to the Bureau of Prisons:




      @ The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:
                at                                       a.m.         p.m.     on
                as notified by the United States Marshal.

      C1 The defendant shall surrender for s e ~ c ofe sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                           to

 at                                                     , with a terrified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                             BY
                                                                                                    DEPUTY UNITEI) STATES MARSHAL
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A 0 245B       (Rev. 06105) Judgment in a Criminal Case
               Sheet 3 -Supervised Release

 DEFENDANT: VALERIE M. SIVERLY
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                                                            SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :

  8 years on Count 1 of the Indictment.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawhll possess a controlled substance. The defendan! shall rctiain iron1 any unldwl'ul use ot:a cunuollcd
 substancr. The drfhdant shall su%rni; to onc drug test wlthln 15 days uf relcase trorn lmpnsonment and at least two penohc drug tests
 thereafter, as determined by the court
           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
           future substance abuse. (Check, if applicable.)
           The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
           The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
           The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
           student, as directed by the probation officer. (Check, if applicable.)
 IJ        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
      1)    the defendant shall not leave the judicial district without the permission of the court or probation off~ceq
      2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fnst five days of
            each month;
      3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)    the defendant shall support his or her dependents and meet other family responsibilities;
      5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
      6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, djstrihute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescr~bedby a phys~cian;
      8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9) thc defendant shall not dssoctatc with any person5 en aged in cnn~lnalactlvlt) and shall not assoclatr w ~ t hany pcrcon con\,~<ted
                                                                                                                                           of a
         tclony, unless grantrd pernusslon to do so by the progatlon officer,
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain vlew of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and
  13)       as dlrccted by the robation officer, the defendant bhall notify th~rdpanlcs of risks that m y be occasioned by thc defendant's crinunal
            record or personay history or charactenst~csand shall pcrmtr the probar~onotiiccr to make such notlficatlons and to confirm the
            defendant s compl~ancew ~ t hsuch notlficat~onrequlrcment.
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            Sheet 3C - Supervised Release

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                                          SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall cooperate in the collection of DNA as directed by the probation officer.

   The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 or ten
 percent of her net monthly income, whichever is greater.

   the defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation may share financial
 information with the Financial Litigation Unit.

   The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

   The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such
 time as the defendant is released from the program by the probation officer.

   The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlot testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Copay shall never exceed the total
 costs of counseling.
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A 0 245B   (Rev. 06105) Judgment in a Criminal Case
           Sheet 5- Cnrninal Monetary Penalties


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                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                        -
                                                                       Fine                                Restitution
 TOTALS            $ 100.00                                          $ 200.00                            $ 0.00



      The determination of restitution is deferred until   -. An Amended Judgment in a Criminal Case (A0 245'2) will be entered
      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each pa ee shall receive an approximately ro oxtioned ayment, unless specified otherwise @
      the pnonty order or percentage payment columngelow. However, pursuant to 18
      before the United States is paid.
                                                                                           8~.8.
                                                                                              5 3664{), all nonfederal vlctlms must be pald

 Name of Paeee                                                          IYlaLhdLoss*        Restitution Ordered      PrioriO or Percentas




 TOTALS                               $                       0.00         $                      0.00


       Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 9 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 @f    The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       @f the interest requirement is waived for the        @ fme        restitution.
           the interest requirement for the             fine 0 restitution is modified as follows:


 * Findngs for the total amount of losses are re uircd under Chapter>IO9A. 110. 1 IOA, and I 13A of 11tlc 18 ior offenses committed on or after
 September 13, 1994, hut before Aprd 23, 199%.
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           Sheet 6 - Schedule of Payments


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                                                     SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    &Lump
       if sum payment of $                                   due immediately, balance due

                 not later than                                  , 01
            IJ in accordance                  C,       D,          E, or    IJ F below; or
 B     IJ Payment to begin immediately (may be combined with                 C,      IJD, or         F below); or

 C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D         Paymentin equal                     (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release kom imprisonment to a
           term of supervision; or

 E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of her net monthly income, whichever is greater, toward her fine.




 Unless the court has express1 ordered otherwise, if this jud ment imposes imprisonment, a        ent of criminal monetqpenalties is due durin
 imprisongept. All cruninaymoneta penalties, except fhose payments made througi?                  Federal Bureau of Prisons' Inmate Financii?
 Respons~b~l~ty Program, are made to x e clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



       Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
 (5) f i e interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecuaon and court costs.
